        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 1 of 31




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


CHRISTIAN CHARLES,

                      Plaintiff,

       v.
                                              No. 18 Civ. 01196 (AJN) (KHP)
JERRY SEINFELD, COLUMBUS 81
PRODUCTIONS, INC., EMBASSY ROW, LLC,
COMEDIANS IN CARS, LLC, SONY PICTURES
TELEVISION INC., and NETFLIX, INC.,

                      Defendants.




 MEMORANDUM OF LAW OF DEFENDANTS JERRY SEINFELD, COLUMBUS 81
 PRODUCTIONS, INC., AND COMEDIANS IN CARS, LLC IN SUPPORT OF THEIR
             MOTION FOR ATTORNEYS’ FEES AND COSTS

                                          GIBSON, DUNN & CRUTCHER LLP
                                          200 Park Avenue
                                          New York, NY 10166-0193
                                          Telephone: (212) 351-4000
                                          Facsimile: (212) 351-4035


Dated: July 1, 2020                       Attorneys for Defendants Jerry Seinfeld,
                                          Columbus 81 Productions, Inc., Embassy
                                          Row, LLC, Comedians in Cars, LLC, Sony
                                          Pictures Television Inc., and Netflix, Inc.
            Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 2 of 31




                                                  TABLE OF CONTENTS
                                                                                                                                     Page

PRELIMINARY STATEMENT .................................................................................................... 1

STATEMENT OF FACTS ............................................................................................................. 6
          I.         THIS COURT AND THE SECOND CIRCUIT FOUND THAT
                     PLAINTIFF WAS ON NOTICE THAT HIS OWNERSHIP
                     CLAIM HAD BEEN REPUDIATED SINCE AT LEAST 2012 ............................6
          II.        PLAINTIFF WAS ON NOTICE THAT HIS CLAIMS WERE
                     OBJECTIVELY UNREASONABLE ......................................................................7

ARGUMENT ................................................................................................................................ 10
          I.         DEFENDANTS ARE ENTITLED TO RECOVER THEIR
                     ATTORNEYS’ FEES AND COSTS AS THE PREVAILING
                     PARTIES IN THIS ACTION ................................................................................10
                     A.         Plaintiff Maintained Objectively Unreasonable and Frivolous
                                Legal and Factual Positions .......................................................................11
                     B.         Awarding Attorneys’ Fees and Costs Furthers the Copyright Act’s
                                Principles of Deterrence and Compensation ..............................................16
          II.        THE FEES AND COSTS SOUGHT BY THE SEINFELD
                     DEFENDANTS ARE REASONABLE .................................................................18
                     A.         The Rates of the Seinfeld Defendants’ Counsel Are Reasonable ..............19
                     B.         The Number of Hours Counsel Expended Is Reasonable ..........................23
                     C.         The Costs Sought by the Seinfeld Defendants Are Reasonable ................25

CONCLUSION ............................................................................................................................. 25




                                                                     i
            Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 3 of 31




                                               TABLE OF AUTHORITIES
                                                                                                                                Page(s)

                                                                 Cases

APEX Emp. Wellness Servs., Inc. v. APS Healthcare Bethesda, Inc.,
  2018 WL 5784544 (S.D.N.Y. Nov. 5, 2018) ...........................................................................20

Arbor Hill Concerned Citizens Neighborhood Ass’n v. Cty. of Albany,
   522 F.3d 182 (2d Cir. 2008)...............................................................................................19, 20

Baker v. Urban Outfitters, Inc.,
   431 F. Supp. 2d 351 (S.D.N.Y. 2006)..........................................................................16, 17, 18

Byrne v. BuyThisFast Network, Inc.,
   2005 WL 1155175 (S.D.N.Y. May 17, 2005) .........................................................................14

Ceglia v. Zuckerberg,
   2012 WL 503810 (W.D.N.Y. Feb. 14, 2012) ..........................................................................20

Charles v. Seinfeld, et al.,
   No. 18-CV-1196 (AJN) (S.D.N.Y. Sept. 30, 2019) ...................................................................2

Charles v. Seinfeld,
   No. 19-3335 (2d Cir. May 7, 2020) ...............................................................................1, 10, 13

Dimmie v. Carey,
   88 F. Supp. 2d 142 (S.D.N.Y. 2000)........................................................................................21

Fogerty v. Fantasy, Inc.,
   510 U.S. 517 (1994) ...........................................................................................................11, 16

Gary Friedrich Enters., LLC v. Marvel Characters, Inc.,
   716 F.3d 302 (2d Cir. 2013)...................................................................................................5, 6

J.S. Nicol, Inc. v. Peking Handicraft, Inc.,
    2008 WL 4613752 (S.D.N.Y. Oct. 17, 2008) ..........................................................................25

Jorgensen v. Epic/Sony Records,
   351 F.3d 46 (2d Cir. 2003).......................................................................................................21

Kirtsaeng v. John Wiley & Sons, Inc.,
    568 U.S. 519 (2013) .................................................................................................................22

Kirtsaeng v. John Wiley & Sons, Inc.,
    136 S. Ct. 1979 (2016) .............................................................................................................11




                                                                    ii
            Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 4 of 31

                                         TABLE OF AUTHORITIES (continued)
                                                                                                                                       Page(s)

Kwan v. Schlein,
  634 F.3d 224 (2d Cir. 2011).....................................................................................4, 5, 6, 8, 13

LaPine v. Seinfeld,
   2009 WL 2902584 (S.D.N.Y. Sept. 10, 2009), aff’d, 375 F. App’x 81 (2d Cir.
   2010) ........................................................................................................................................21

Mahan v. Roc Nation, LLC,
  2015 WL 4388885 (S.D.N.Y. July 17, 2015), aff’d, 634 F. App’x 329 (2d Cir.
  2016) ..............................................................................................................................5, 10, 11

Mahan v. Roc Nation, LLC,
  2016 WL 4718018 (S.D.N.Y. Sept. 9, 2016) ...........................................................................17

Mahan v. Roc Nation, LLC,
  634 F. App’x 329 (2d Cir. 2016) .......................................................................................14, 17

Millea v. Metro-N. R.R. Co.,
   658 F.3d 154 (2d Cir. 2011).....................................................................................................18

Miroglio S.P.A. v. Conway Stores, Inc.,
   629 F. Supp. 2d 307 (S.D.N.Y. 2009)......................................................................................19

N.Y. State Ass’n for Retarded Children, Inc. v. Carey,
   711 F.2d 1136 (2d Cir. 1983)...................................................................................................23

Petrella v. Metro-Goldwyn-Mayer, Inc.,
   572 U.S. 663 (2014) .................................................................................................................13

Porto v. Guirgis,
   659 F. Supp. 2d 597 (S.D.N.Y. 2009)..........................................................................14, 15, 16

Sid Bernstein Presents, LLC v. Apple Corps Ltd.,
    2018 WL 3300688 (S.D.N.Y. Jan. 25, 2018), report and recommendation
    adopted, 2018 WL 1587125 (S.D.N.Y. Mar. 29, 2018) ..............................................10, 13, 18

Simmons v. Stanberry,
   810 F.3d 114 (2d Cir. 2016).......................................................................................................8

Thomson v. Larson,
   147 F.3d 195 (2d Cir. 1998).....................................................................................................21

Tisi v. Patrick,
    97 F. Supp. 2d 539 (S.D.N.Y. 2000)........................................................................................21

TufAmerica Inc. v. Diamond,
   2018 WL 401510 (S.D.N.Y. Jan. 12, 2018) .....................................................................14, 16


                                                                       iii
            Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 5 of 31

                                         TABLE OF AUTHORITIES (continued)
                                                                                                                                       Page(s)

TufAmerica, Inc. v. Diamond,
   2016 WL 1029553 (S.D.N.Y. Mar. 9, 2016) ............................................11, 14, 17, 18, 19, 25

U.S. Bank Nat’l Ass’n v. Dexia Real Estate Capital Mkts.,
   2016 WL 6996176 (S.D.N.Y. Nov. 30, 2016) .........................................................................20

U.S. Football League v. Nat’l Football League,
   887 F.2d 408 (2d Cir. 1989).....................................................................................................25

Vista Outdoor Inc. v. Reeves Family Tr.,
    2018 WL 3104631 (S.D.N.Y. May 24, 2018) .........................................................................20

Willis v. Home Box Office,
   2001 WL 1352916 (S.D.N.Y. Nov. 2, 2001), aff’d, 57 F. App’x 902 (2d Cir.
   2003) ........................................................................................................................................21

                                                                  Statutes

17 U.S.C. § 505 ..............................................................................................................................10

                                                           Other Authorities

Eriq Gardner, Jerry Seinfeld Faces Bulked-Up Lawsuit for Allegedly Stealing Hit
    Show, HOLLYWOOD REP. (May 29, 2018),
    https://www.hollywoodreporter.com/thr-esq/jerry-seinfeld-faces-bulked-up-
    lawsuit-allegedly-stealing-hit-show-1115493..........................................................................15

Jerry Seinfeld Sued for Allegedly Stealing ‘Comedians in Cars Getting Coffee’,
    TMZ (Feb. 12, 2018), https://www.tmz.com/2018/02/12/jerry-seinfeld-sued-
    for-stealing-comedians-in-cars-getting-coffee/........................................................................15

Michelle Kaminsky, BigLaw Attorney Revs Up ‘Comedians in Cars Getting
   Coffee’ Lawsuit Against Seinfeld, FORBES (May 30, 2018),
   https://www.forbes.com/sites/michellefabio/2018/05/30/biglaw-attorney-revs-
   up-comedians-in-cars-getting-coffee-lawsuit-against-seinfeld/#4e9edd47416c .....................15

Oral Argument Recording, available at
   https://www.ca2.uscourts.gov/decisions/isysquery/6249cb72-f1c9-4fb0-b390-
   ecd53f63feb3/138/doc/19-3335.mp3 .........................................................................................4




                                                                        iv
         Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 6 of 31




        Defendants Jerry Seinfeld, Columbus 81 Productions, Inc., and Comedians in Cars, LLC,

(collectively, the “Seinfeld Defendants”)1 respectfully submit this memorandum of law and the

accompanying declaration of David M. Kusnetz (“Kusnetz Declaration”) in support of their

motion for attorneys’ fees and costs pursuant to Section 505 of the Copyright Act and Rule 54 of

the Federal Rules of Civil Procedure, together with such further relief as appropriate.

                                PRELIMINARY STATEMENT

        This is a textbook case for an award of attorneys’ fees and costs under the Copyright Act.

Plaintiff filed, prosecuted, and appealed this abusive case knowing that his claims were plainly

time-barred in the hope that the negative media attention generated by his lawsuit would pressure

Jerry Seinfeld to settle. This meritless case was a press strategy and pressure tactic

masquerading as a lawsuit. But Mr. Seinfeld refused to acquiesce to these tactics and defended

himself on the merits at great expense. Now that the Court has dismissed the time-barred

complaint, and the Second Circuit has affirmed that dismissal, see Charles v. Seinfeld, No. 19-

3335 (2d Cir. May 7, 2020) (summary order) (hereinafter “Summary Order”), it is time to hold

Plaintiff accountable for the damage caused by his misguided lawsuit.

        The facts are straightforward. In 2012, Jerry Seinfeld’s talk show Comedians in Cars

Getting Coffee (the “Show”) premiered on Crackle, Sony Pictures Television’s online streaming

service, to critical acclaim. For the next five years, the Show was consistently renewed for

additional seasons and continued to garner rave reviews from critics across the globe. Since its

premiere, viewers have streamed episodes of the Show over 100 million times and it garnered

Emmy Award nominations in 2013, 2014, and 2016. In 2017, “Netflix inked a lucrative new


 1
     Pursuant to an agreement between the Seinfeld Defendants and Sony Pictures Television
     Inc., Embassy Row, LLC, and Netflix, Inc. (collectively, the “Defendants”), the Seinfeld
     Defendants were responsible for paying all of the Defendants’ attorneys’ fees and costs in
     this action.


                                                 1
         Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 7 of 31




deal” to stream Mr. Seinfeld’s award-winning and popular talk show. Charles v. Seinfeld, et al.,

No. 18-CV-1196 (AJN), slip. op. at 3 (S.D.N.Y. Sept. 30, 2019) (Dkt. No. 106) (citing Plaintiff’s

Second Amended Complaint (“SAC”) at ¶¶ 96–97, Dkt. No. 70). In response, and later that

year, on December 27, 2017—five-and-a-half years after the Show first premiered on July 19,

2012—Plaintiff came out of the woodwork and sent an email to Mr. Seinfeld, claiming for the

first time to be the true creator of the Show and threatening to sue if he did not receive a share of

the profits. Over the next eight months, Mr. Seinfeld’s counsel warned Plaintiff in writing on at

least three separate occasions—before Plaintiff initiated this lawsuit, after he filed his pro se

complaint, and after he retained counsel—that his ownership claims were meritless and time-

barred under the Copyright Act’s statute of limitations. See Exs.2 A–C. In these

communications, Mr. Seinfeld expressly placed Plaintiff on notice that if he persisted in

prosecuting his objectively unreasonable claims, Mr. Seinfeld would seek all available remedies

and damages, including attorneys’ fees and costs. Id.

        Ignoring these warnings, Plaintiff barreled ahead, hoping that the media coverage

generated by his allegations would extract a payout from Mr. Seinfeld. Mr. Seinfeld and his co-

Defendants did not budge, choosing to weather the media storm in order to publicly vindicate

their rights to the Show. After Defendants moved to dismiss Plaintiff’s pro se complaint,

Plaintiff doubled down on his objectively unreasonable claims and found a lawyer willing to file

a First Amended Complaint (“FAC”). See Dkt. No. 46. When Mr. Seinfeld again did not yield,

the lawyer moved to withdraw as counsel the evening before Defendants moved to dismiss the

FAC. Tripling down, Plaintiff hired new counsel, who sought (and received) leave to file a




 2
     All references to Exhibits (“Ex.”) herein shall be to Exhibits to the Kusnetz Declaration,
     unless otherwise stated.


                                                  2
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 8 of 31




Second Amended Complaint because he “concluded that the First Amended Complaint does not

adequately express and assert all of [Plaintiff’s] valid and important claims.” Dkt. No. 65.

Defendants then moved to dismiss the SAC. By forcing Defendants to prepare three motions to

dismiss, Plaintiff exponentially increased Mr. Seinfeld’s fees and costs to litigate this case.

       Each iteration of Plaintiff’s complaint repackaged the same time-barred copyright claims.

And each motion to dismiss painstakingly demonstrated that those claims were hopelessly time-

barred under the Second Circuit’s unambiguous standard for determining when a plaintiff’s

claim of copyright ownership accrues. See Dkt. Nos. 22; 50; 74. On September 30, 2019, this

Court granted Defendants’ motion to dismiss the SAC, ruling that Plaintiff’s copyright claims

were time-barred under the same Second Circuit precedent that Defendants cited in all three

motions to dismiss and related warning letters and emails to Plaintiff. Dkt. No. 106 at 5, 8; Exs.

B–C. Accordingly, the Court saw through Plaintiff’s “unavailing attempts to distinguish Second

Circuit precedent” and held that because Plaintiff “was on notice that his ownership claim had

been repudiated since at least 2012, his infringement claim is time-barred.” Id.

       On October 15, 2019, the Seinfeld Defendants moved for attorneys’ fees and costs

pursuant to Section 505 of the Copyright Act. See Dkt. Nos. 109–11. The next day, Plaintiff

submitted a notice of appeal from this Court’s judgment. See Dkt. No. 112. On November 20,

2019, the Court denied Defendants’ fee motion without prejudice, presciently noting that “the

expedited briefing schedule set by the Second Circuit would not leave [Plaintiff’s] counsel

enough time to brief the fees issue . . . [and] that the content of a fees motion may be altered

depending on the outcome and reasoning of the Second Circuit’s opinion.” Dkt. No. 120 at 1.

       Despite this Court’s straightforward dismissal of Plaintiff’s claims on the very grounds

presented in each of Defendants’ motions to dismiss, Plaintiff nevertheless recycled the same




                                                  3
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 9 of 31




arguments on appeal before the Second Circuit. The appeal needlessly prolonged the litigation

and necessitated substantial additional work submitting an appellate brief in opposition and

preparing for oral argument. On April 29, 2020, during oral argument, all three judges on the

Second Circuit panel made clear their strong view that the appeal was baseless. See Oral

Argument Recording, available at https://www.ca2.uscourts.gov/decisions/isysquery/6249cb72-

f1c9-4fb0-b390-ecd53f63feb3/138/doc/19-3335.mp3, at 8:47–9:07 (Judge Lynch: “It seems to

me a very remarkable proposition that you can allow this to go forward and only at your

convenience after the other side, meanwhile, has invested money in trying to develop the product

and just come after them when it suits your convenience many years later.”); id. at 15:17–16:13

(Judge Walker: “[C]ertainly by the time of the Sony streaming, which was . . . in the summer of

2012, [Plaintiff] was aware that Seinfeld was acting inconsistently with your client being the

owner. Don’t debate whether or not he was the owner. That’s not the issue. . . . The fact is that

the suit wasn’t brought until 2018, which is more than three years after 2012.”), id. at 6:17–6:35

(Judge Pooler: “Didn’t they put out this show without giving him credit after the first pilot? . . .

And wouldn’t that have alerted him to the fact that they contested ownership?”).

       On May 7, 2020, one week after hearing oral argument, the Second Circuit summarily

affirmed this Court’s judgment, “for substantially the same reasons that it set out in its well-

reasoned opinion.” Summary Order at 2. The Second Circuit held that the “[t]he dispositive

issue in this case is whether Charles’s alleged ‘contributions . . . qualify [him] as the author and

therefore owner’ of the copyrights to the show.” Summary Order at 2 (quoting Kwan v. Schlein,

634 F.3d 224, 229 (2d Cir. 2011)). Citing this Court’s decision, the Second Circuit emphasized

that “authorship is merely one path to ownership of a copyright” and that Plaintiff’s “ownership

claim is time-barred.” Id. The Second Circuit then found that this Court correctly “identified




                                                  4
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 10 of 31




two events described in the Second Amended Complaint that would have put a reasonably

diligent plaintiff on notice that his ownership claims were disputed.” Id. “First, in February

2012, [when] Seinfeld rejected Charles’s request for backend compensation and made it clear

that Charles’s involvement would be limited to a work-for-hire basis,” id. (citing Gary Friedrich

Enters., LLC v. Marvel Characters, Inc., 716 F.3d 302, 318 (2d Cir. 2013)), and “[s]econd,

[when] the show premiered in July 2012 without crediting Charles, at which point his ownership

claim was publicly repudiated,” id. at 3 (citing Kwan, 634 F.3d at 227).

       The Second Circuit’s ruling was not surprising. Defendants have repeatedly told Plaintiff

that his own allegations and controlling Second Circuit case law are fatal under the Copyright

Act’s statute of limitations—the very same grounds that this Court relied on in granting

Defendants’ motion to dismiss and which the Second Circuit relied on in affirming that decision.

“Plaintiff’s claims under the Copyright Act were plainly time barred and therefore objectively

unreasonable.” Mahan v. Roc Nation, LLC, 2015 WL 4388885, at *2 (S.D.N.Y. July 17, 2015),

aff’d, 634 F. App’x 329 (2d Cir. 2016). Plaintiff wasted the judicial resources of this Court and

the Second Circuit and burdened the Seinfeld Defendants with significant legal costs.

       On this record, the Court should award attorneys’ fees and costs under Section 505 of the

Copyright Act because: (1) Plaintiff knew or should have known that his claims were

objectively unreasonable when he filed this lawsuit and each time he amended his complaint; (2)

Plaintiff failed to heed Mr. Seinfeld’s multiple warnings—before and during the litigation—that

his claims were objectively unreasonable and that Mr. Seinfeld would move for fees if he did not

dismiss this lawsuit; (3) Plaintiff “had multiple opportunities to amend his complaint in the face

of Defendants’ timeliness arguments,” Dkt. No. 106 at 8, which drastically increased the fees and

costs that Mr. Seinfeld incurred in defending this action; (4) Plaintiff persisted in raising the




                                                  5
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 11 of 31




same objectively unreasonable arguments on appeal; and (5) awarding fees and costs will serve

the purposes of the Copyright Act by putting Plaintiff and similarly situated plaintiffs on notice

that there are adverse consequences to bringing unreasonable claims.

                                   STATEMENT OF FACTS

I.     THIS COURT AND THE SECOND CIRCUIT FOUND THAT PLAINTIFF WAS
       ON NOTICE THAT HIS OWNERSHIP CLAIM HAD BEEN REPUDIATED
       SINCE AT LEAST 2012

       In 2011, Mr. Seinfeld hired Plaintiff to direct the pilot episode of the Show. Seeking

more than a director’s salary, “[i]n January and February of 2012, [Plaintiff] claims that he

communicated his request ‘for compensation and backend involvement’ with the show.” Dkt.

No. 106 at 2 (citing SAC ¶ 69). This Court correctly found that “this is the point at which things

[went] sour.” Id. “First, the SAC alleges that in 2011 Seinfeld twice rejected [Plaintiff’s]

request for backend compensation and made it clear that [Plaintiff’s] only involvement was to be

on a ‘work-for-hire’ basis.” Id. This “necessarily contradicted any idea that [Plaintiff] was the

owner of intellectual property in the show.” Dkt. No. 106 at 7.

       The Second Circuit agreed, recognizing that “Seinfeld rejected [Plaintiff’s] request for

backend compensation and made it clear that [Plaintiff’s] involvement would be limited to a

work-for-hire basis,” and that this “would have put a reasonably diligent plaintiff on notice that

his ownership claims were disputed.” Summary Order at 2 (citing Friedrich, 716 F.3d at 318).

       “Second, Seinfeld and other Defendants went on to produce and distribute the show

without giving any credit to [Plaintiff].” Dkt. No. 106 at 7. “Even interpreting the SAC most

favorably to [Plaintiff], it clearly alleges he was aware that the show was being produced and

that he was not being credited on it.” Dkt. No. 106 at 7–8. The Second Circuit agreed,

explaining that “the [S]how premiered in July 2012 without crediting [Plaintiff], at which point

his ownership claim was publicly repudiated.” Summary Order at 3 (citing Kwan, 634 F.3d at


                                                 6
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 12 of 31




227). The Second Circuit concluded that “[e]ither one of these developments was enough to

place [Plaintiff] on notice that his ownership claim was disputed and therefore this action, filed

six years later, was brought too late.” Id. The Summary Order, issued just one week after oral

argument, confirms that this is not a close case and the appeal was meritless.

II.    PLAINTIFF WAS ON NOTICE THAT HIS CLAIMS WERE OBJECTIVELY
       UNREASONABLE

       The decisions by this Court and the Second Circuit confirm that Plaintiff’s lawsuit was an

opportunistic and frivolous attempt to capitalize on Mr. Seinfeld’s success. Instead of bringing

his purported copyright claims within three years after his ownership claim had been repudiated

by Defendants on multiple occasions, Plaintiff remained silent until 2017. As this Court

recognized, it was the announcement in 2017 that “Netflix inked a lucrative new deal for the

show to join their platform,” that prompted Plaintiff to contact Mr. Seinfeld via email on

December 27, 2017. Dkt. No. 106 at 3 (citing SAC ¶¶ 96–97). In this email, Plaintiff claimed to

be the creator of the Show, demanding a share of the Show’s profits and threatening to sue if Mr.

Seinfeld did not agree to “confidential mediation.” Mr. Seinfeld’s counsel responded in an email

to Plaintiff on January 10, 2018, explaining that Plaintiff’s ownership claims were “without

merit” and reminding him that he “releas[ed] all claims of future compensation.” Ex. A; see Dkt.

No. 106 at 3 (citing SAC ¶ 98). Mr. Seinfeld’s counsel also warned Plaintiff that Mr. Seinfeld

would “seek appropriate damages and remedies” if Plaintiff “pursue[d] this unwarranted claim.”

In two subsequent letters, Plaintiff again threatened to sue Mr. Seinfeld unless he agreed to a

monetary settlement. After Mr. Seinfeld chose not to respond, Plaintiff filed a pro se complaint

on February 9, 2018. Dkt. No. 1.

       On March 1, 2018, given Plaintiff’s then–pro se status, Mr. Seinfeld’s counsel informed

Plaintiff via email and letter of the consequences of asserting “objectively unreasonable” claims



                                                 7
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 13 of 31




and explained that “when a plaintiff brings a frivolous and objectively meritless copyright claim,

the court has the power to award attorney’s fees and costs to the prevailing party under 17 U.S.C.

§ 505 of the Copyright Act.” Ex. B. Mr. Seinfeld’s counsel further explained to Plaintiff that

“[b]ecause [he] did not file suit until [February 2018], more than three years after the publication

of the first [episode of the show] . . . any ownership claim relating to [Comedians in Cars Getting

Coffee] is untimely.” Id. at 2 (citing Kwan, 634 F.3d at 229). In light of the binding Second

Circuit authority compelling dismissal of his case, Plaintiff was then explicitly warned that if he

“refus[ed] to dismiss [his] lawsuit with prejudice and, instead, require[d] Mr. Seinfeld to spend

time and money litigating the case, [Mr. Seinfeld’s counsel] will ask the judge to make [Plaintiff]

pay our attorney’s fees and costs after we prevail, and those fees likely would rise into the six

figures.” Id. at 1.

        After Plaintiff failed to voluntarily dismiss his lawsuit, Mr. Seinfeld filed a motion to

dismiss, which again made clear that binding Second Circuit authority, such as Kwan and

Simmons v. Stanberry, 810 F.3d 114, 116 (2d Cir. 2016) (per curiam), mandated dismissal of

Plaintiff’s claims. See Dkt. No. 22. In response, Plaintiff hired an attorney to file an FAC on

May 25, 2018, corrected on June 22, 2018. Dkt. No. 46. The FAC largely repackaged the same

baseless time-barred claims contained in the original complaint. Plaintiff’s lawyer conspicuously

withdrew as counsel the evening before Defendants moved to dismiss the FAC on June 29, 2018,

when it was clear that Defendants were defending the case on the merits and not writing a check.

See Dkt. No. 47. Defendants’ motion to dismiss the FAC once again made clear that the same

binding Second Circuit authority compelled dismissal of Plaintiff’s claims. See Dkt. No. 50.

        Plaintiff then hired new counsel, who requested leave to file an SAC, claiming that “the

First Amended Complaint does not adequately express and assert all of [Plaintiff’s] valid and




                                                  8
       Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 14 of 31




important claims.” Dkt. No. 65. When Plaintiff’s new counsel emailed Mr. Seinfeld’s counsel

on August 12, 2018, seeking consent to file an SAC, Mr. Seinfeld’s counsel responded that,

“[w]e have made it clear to your client in correspondence and in two motions to dismiss that

controlling precedent mandates dismissal of his copyright claims as time-barred.” Ex. C at 4

(emphasis in original). After again citing Kwan and Simmons to explain why Plaintiff’s claims

were time-barred, Mr. Seinfeld’s counsel issued a final warning: “We cannot stop you from

filing a motion to amend. But we can ask the Court to hold you and your client responsible for

our fees and costs if you seek leave to amend with a time-barred, futile and frivolous joint

authorship claim.” Ex. C at 1–2.

       At their own peril, Plaintiff’s counsel ignored this warning, seeking and receiving leave

from this Court to file the SAC. The SAC, filed on September 2, 2018, recycled the original

allegations in the pro se complaint and FAC and included two additional time-barred copyright

claims. Dkt. No. 70. On September 17, 2018, Defendants filed a third motion to dismiss, which

again made clear that the same binding Second Circuit authority—cited in the two prior motions

to dismiss and in the correspondence with Plaintiff’s counsel—compelled dismissal of Plaintiff’s

claims. Dkt. No. 74.

       On September 30, 2019, this Court granted Defendants’ motion to dismiss the SAC,

ruling that Plaintiff’s copyright claims were time-barred principally under Kwan and Simmons,

the same Second Circuit precedent that Defendants cited in all three motions to dismiss and in

repeated correspondence with Plaintiff’s counsel. Dkt. No. 106 at 5–7. This Court found that

Plaintiff’s “attempts to distinguish Second Circuit precedent” were “unavailing.” Id. at 5. On

October 1, 2019, the Clerk of Court entered Judgment for Defendants on the docket. Dkt. No.

108. On April 29, 2020, following Plaintiff’s appeal of the Court’s judgment, the Second Circuit




                                                 9
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 15 of 31




held oral argument. During oral argument, the Second Circuit panel grilled Plaintiff’s counsel

for nearly twenty minutes, far exceeding Plaintiff’s allotted time. The panel did not ask

Defendants’ counsel a single question. On May 7, 2020, one week after hearing oral argument,

the Second Circuit summarily affirmed this Court “for substantially the same reasons that it set out

in its well-reasoned opinion,” citing to its prior decisions in Kwan and Simmons. Summary Order

at 2. On May 21, 2020, Plaintiff filed a petition for panel rehearing. On June 10, 2020, without

ordering a response from Defendants, the Second Circuit summarily denied the petition.

Charles, No. 19-3335, at Dkt. No. 101.

       As prevailing parties in this copyright action, the Seinfeld Defendants now move the

Court for an award of attorneys’ fees and costs. As Mr. Seinfeld’s counsel warned Plaintiff at

the beginning and every subsequent stage of this case, forcing the Seinfeld Defendants to defend

against these objectively unreasonable claims caused them to incur substantial fees. See Ex. B.

And Plaintiff’s equally meritless appeal needlessly burdened the Seinfeld Defendants with

additional substantial fees.

                                           ARGUMENT

I.     DEFENDANTS ARE ENTITLED TO RECOVER THEIR ATTORNEYS’ FEES
       AND COSTS AS THE PREVAILING PARTIES IN THIS ACTION

       The Copyright Act authorizes “the court in its discretion [to] . . . . award a reasonable

attorney’s fee to the prevailing party.” 17 U.S.C. § 505. “[D]efendants are prevailing parties in

this action because their motion to dismiss the complaint was granted” and affirmed on appeal.

See Sid Bernstein Presents, LLC v. Apple Corps Ltd., 2018 WL 3300688, at *6 (S.D.N.Y.

Jan. 25, 2018), report and recommendation adopted, 2018 WL 1587125 (S.D.N.Y. Mar. 29,

2018); see also Mahan, 2015 WL 4388885, at *2 (finding defendants were prevailing parties in




                                                 10
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 16 of 31




copyright infringement action and awarding fees and costs after granting motion to dismiss on

statute of limitations grounds).

       A.      Plaintiff Maintained Objectively Unreasonable and Frivolous Legal and
               Factual Positions

       In determining whether to award fees under Section 505 of the Copyright Act, courts may

consider “‘frivolousness, motivation, objective unreasonableness (both in the factual and in the

legal components of the case) and the need in particular circumstances to advance considerations

of compensation and deterrence’ as relevant factors.” TufAmerica, Inc. v. Diamond, 2016 WL

1029553, at *1 (S.D.N.Y. Mar. 9, 2016) (Nathan, J.) (quoting Fogerty v. Fantasy, Inc., 510 U.S.

517, 534 & n.19 (1994)). A court must give “substantial weight to the reasonableness of [the

losing party’s] litigating position, [while] also taking into account all other relevant factors.”

Kirtsaeng v. John Wiley & Sons, Inc., 136 S. Ct. 1979, 1989 (2016). “Claims are objectively

unreasonable if they ‘have no legal or factual support.’” TufAmerica Inc., 2016 WL 1029553, at

*2 (citation omitted). The Seinfeld Defendants “are entitled to attorneys’ fees because, for the

reasons set forth in the [Court’s decision and in the Second Circuit’s Summary Order], Plaintiff’s

claims under the Copyright Act were plainly time barred and therefore objectively unreasonable.

Claims brought after the statute of limitations has run may be considered objectively

unreasonable.” Mahan, 2015 WL 4388885, at *2.

       This is not a case in which the plaintiff filed and maintained copyright claims in good

faith. Nor is it a case in which the plaintiff was unaware of the consequences of his actions.

Plaintiff filed this action in the apparent hope that the ensuing media coverage would force Mr.

Seinfeld to offer him a settlement. But Mr. Seinfeld refused to acquiesce and defended himself.

At every stage, Mr. Seinfeld gave Plaintiff the choice to abandon his frivolous lawsuit,




                                                  11
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 17 of 31




repeatedly warning him that his copyright claims were time-barred. But Plaintiff ignored the

clear warnings and continued to press his objectively unreasonable claims.

       The Second Circuit held that “the central issue [here] is clearly a dispute over

ownership,” Summary Order at 2, affirming this Court’s determination that “ownership form[ed]

the backbone of the ‘infringement’ claim” here. Dkt. No. 106 at 6. As Defendants consistently

argued in all three motions to dismiss, this was not a close call. Despite Plaintiff’s “unavailing

attempts to distinguish” this case from binding Second Circuit precedent, id. at 5, Kwan and

Simmons control this case and make clear that Plaintiff’s legal arguments were objectively

unreasonable. This Court agreed, determining that the “set of facts [in Kwan] largely mirror[]

the present case,” Dkt. No. 106 at 6. And so did the Second Circuit, when it cited to Kwan in

finding that the facts of this case were “enough to place [Plaintiff] on notice that his ownership

claim was disputed and therefore this action, filed six years later, was brought too late.”

Summary Order at 3. The Second Circuit also affirmed this Court’s rejection of Plaintiff’s

frivolous attempt to “somehow” distinguish his lawsuit as concerning “authorship” rather than

“ownership,” Dkt. No. 106 at 5–6, ruling that “authorship is merely one path to ownership of a

copyright.” Summary Order at 2 (quoting Dkt. No. 106 at 6).

       Plaintiff’s other attempt to circumvent the statute of limitations was also objectively

unreasonable. Like other unsuccessful copyright plaintiffs before him, Plaintiff argued that the

“separate-accrual rule,” in which the statute of limitations runs separately from each violation,

applied to an ownership dispute, by mischaracterizing his copyright claims as being for

infringement. Dkt. No. 85 at 24–25. The Second Circuit squarely rejected this discredited

argument, noting that “[w]hen ‘ownership is the dispositive issue’ in an infringement case and

the ‘ownership claim is time-barred,’ the infringement claim itself is also time-barred, even if




                                                 12
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 18 of 31




any allegedly infringing activity occurred within the limitations period.” Summary Order at 2.

This Court thus correctly held that an “ownership claim ‘accrues only once, when a reasonably

diligent plaintiff would have been put on inquiry as to the existence of a right.’” Dkt. No. 106 at

6 (quoting Kwan, 634 F.3d at 228). In fact, courts in this District have held the same “separate-

accrual” argument advanced by Plaintiff here, based on a misreading of Petrella v. Metro-

Goldwyn-Mayer, Inc., 572 U.S. 663 (2014), to be objectively unreasonable and the basis for

awarding fees under Section 505. See, e.g., Sid Bernstein, 2018 WL 3300688, at *6 (finding

plaintiff’s reliance on Petrella sufficiently objectively unreasonable to award fees under

Section 505).

       Because this case plainly concerned an ownership dispute, both the Second Circuit and

this Court agreed with Defendants’ argument that Plaintiff pled himself out of Court. Pointing to

the frivolous nature of Plaintiff’s arguments, the Second Circuit found that Plaintiff’s efforts to

dispute “that his claim centers on ownership” were “seriously undermined by his statements in

various filings throughout this litigation.” Summary Order at 2. Hardly a close call, the Second

Circuit thus determined that this Court correctly “identified two events described in the Second

Amended Complaint that would have put a reasonably diligent plaintiff on notice that his

ownership claims were disputed[:]”

       First, in February 2012, Seinfeld rejected Charles’s request for backend
       compensation and made it clear that Charles’s involvement would be limited to a
       work-for-hire basis. Second, the show premiered in July 2012 without crediting
       Charles, at which point his ownership claim was publicly repudiated. Either one
       of these developments was enough to place Charles on notice that his ownership
       claim was disputed and therefore this action, filed six years later, was brought too
       late. We have considered the remainder of Charles’s arguments and find them to
       be without merit.

       Id. at 2–3 (citations omitted) (citing Kwan, 634 F.3d at 227). A claim is “‘clearly without

merit’ and ‘objectively unreasonable’” when it disregards a “well-settled principle of law.”



                                                 13
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 19 of 31




TufAmerica Inc., 2016 WL 1029553, at *2 (citation omitted). Here, Plaintiff made objectively

unreasonable attempts to distinguish Second Circuit precedent, Dkt. No. 106 at 5, even when that

precedent was directly on point. See Summary Order at 2 (“[T]he central issue is clearly a

dispute over ownership.” (emphasis added)); id. (describing Plaintiff’s arguments as “seriously

undermined by his [own] statements”); Dkt. No. 106 at 6 (finding Kwan’s “set of facts largely

mirrors the present case”).

       This case, therefore, easily meets the “frivolousness” factor, as many courts analyze

frivolousness and objective reasonableness together. See TufAmerica Inc. v. Diamond, 2018 WL

401510, at *3 (S.D.N.Y. Jan. 12, 2018) (Nathan, J.) (collecting cases). “A complaint is frivolous

‘where it lacks an arguable basis either in law or in fact.’” Id. (citation omitted). As

demonstrated above, both the Second Circuit and this Court found that Plaintiff’s copyright

claims were plainly time-barred under unambiguous Second Circuit precedent, and that the facts

pled in the SAC were self-defeating. Indeed, “[Plaintiff’s] arguments [on appeal were] as

frivolous as those he made below; an award of attorney’s fees would further the objectives of the

Copyright Act by deterring such baseless appeals.” Mahan v. Roc Nation, LLC, 634 F. App’x

329, 331 (2d Cir. 2016) (affirming district court’s holding that asserting time-barred copyright

claims “was objectively unreasonable and that awarding fees would deter similar frivolous suits

from being filed by others” (emphasis added)). See also Byrne v. BuyThisFast Network, Inc.,

2005 WL 1155175, at *3 (S.D.N.Y. May 17, 2005) (“To bring a clearly time-barred complaint is

a violation of Rule 11.”).

       The same is true for the “motivation” factor, because there are more than “indicia of bad

faith here.” See Porto v. Guirgis, 659 F. Supp. 2d 597, 617 (S.D.N.Y. 2009). Plaintiff waited

six years and only filed this baseless case after the announcement in 2017 that “Netflix inked a




                                                 14
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 20 of 31




lucrative new deal for the show to join their platform.” Dkt. No. 106 at 3. Plaintiff knew that the

mere filing of a complaint accusing Mr. Seinfeld, “a well-known comedian and actor,” Dkt. No.

106 at 1, of theft—no matter how objectively unreasonable—would attract significant media

attention. Unsurprisingly, Plaintiff’s allegations led to headlines like, Jerry Seinfeld Sued for

Allegedly Stealing ‘Comedians in Cars Getting Coffee’.3 Each development in the case, such as

when Plaintiff first hired counsel, generated additional media reports parroting Plaintiff’s

baseless allegations.4

        Targeting a high-profile individual with inflammatory allegations of theft is a well-worn

tactic. This case is similar in posture to Porto, which had “the hallmarks of an abusive lawsuit.”

Porto, 659 F. Supp. 2d at 617. In Porto, the plaintiff unsuccessfully sued “an award-winning

play and author, and a well-known director (who is also an Academy Award-winning actor) . . .

several years after the production of the play” for copyright infringement. Id. Similarly, here,

Plaintiff waited six years, until “Netflix inked a lucrative new deal for the show to join their

platform” to file his opportunistic suit. Dkt. No. 106 at 3 (citing SAC ¶¶ 96–97). Also, just as

Mr. Seinfeld’s counsel warned Plaintiff that his claims were meritless, in Porto, “plaintiff’s first

counsel was warned, before any action had been filed, that there was no colorable copyright

infringement claim . . . [and] [t]he plaintiff nevertheless persisted in obtaining new counsel and

filing his complaint.” Porto, 659 F. Supp. 2d at 617. In Porto, Judge Koeltl found that “an



 3
     Jerry Seinfeld Sued for Allegedly Stealing ‘Comedians in Cars Getting Coffee’, TMZ (Feb.
     12, 2018), https://www.tmz.com/2018/02/12/jerry-seinfeld-sued-for-stealing-comedians-in-
     cars-getting-coffee/.
 4
     See, e.g., Eriq Gardner, Jerry Seinfeld Faces Bulked-Up Lawsuit for Allegedly Stealing Hit
     Show, HOLLYWOOD REP. (May 29, 2018), https://www.hollywoodreporter.com/thr-esq/jerry-
     seinfeld-faces-bulked-up-lawsuit-allegedly-stealing-hit-show-1115493; Michelle Kaminsky,
     BigLaw Attorney Revs Up ‘Comedians in Cars Getting Coffee’ Lawsuit Against Seinfeld,
     FORBES (May 30, 2018), https://www.forbes.com/sites/michellefabio/2018/05/30/biglaw-
     attorney-revs-up-comedians-in-cars-getting-coffee-lawsuit-against-seinfeld/#4e9edd47416c.


                                                 15
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 21 of 31




award of reasonable costs and attorneys’ fees [was] appropriate,” id., and an award of attorneys’

fees and costs is also appropriate here.

       B.      Awarding Attorneys’ Fees and Costs Furthers the Copyright Act’s Principles
               of Deterrence and Compensation

       The Supreme Court has recognized that “a successful defense of a copyright infringement

action may further the policies of the Copyright Act every bit as much as a successful

prosecution of an infringement claim by the holder of a copyright.” Fogerty, 510 U.S. at 527. In

particular, when a plaintiff pursues a meritless claim, “failing to award attorneys’ fees to

defendants . . . would invite others to bring similarly unreasonable actions without fear of any

consequences.” Baker v. Urban Outfitters, Inc., 431 F. Supp. 2d 351, 359 (S.D.N.Y. 2006).

       Here, there is a strong basis for both deterrence and compensation. For deterrence, this

lawsuit was an opportunistic and frivolous attempt to capitalize on Mr. Seinfeld’s fame and

success, and awarding attorneys’ fees is “necessary to deter Plaintiff from similarly frivolous

future litigation.” TufAmerica Inc., 2018 WL 401510, at *6. Plaintiff followed the perilous path

of “pursu[ing] expensive and time-consuming litigation” with the hope of “extract[ing] a

significant payment from perceived ‘deep pocketed’ defendants.” Baker, 431 F. Supp. 2d at 358.

He persisted down this path even after this Court’s “well-reasoned opinion,” Summary Order at

2, dismissed his claims on precisely the same statute of limitations grounds identified by

Defendants in their three motions to dismiss. Unsurprisingly, the Second Circuit found

Plaintiff’s arguments to be without merit “for substantially the same reasons” as this Court, in a

Summary Order issued one week after hearing oral argument. Summary Order at 2. “[A]n

award of costs and fees is crucial here, so as to deter this plaintiff, and other similarly situated

plaintiffs, from bringing unreasonable claims based on a cost/benefit analysis that tells such

plaintiffs that they can score big if they win and that there will be no adverse consequences if



                                                  16
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 22 of 31




they lose.” Baker, 431 F. Supp. 2d at 359. In addition, “an award of attorney’s fees would

further the objectives of the Copyright Act by deterring such baseless appeals.” Mahan v. Roc

Nation, LLC, 2016 WL 4718018, at *1 (S.D.N.Y. Sept. 9, 2016) (quoting Mahan, 634 F. App’x

329 at 331). “An award of fees and costs is necessary to convince [Plaintiff] and other like-

minded plaintiffs that federal courts do not exist so that they can roll the dice on unreasonable

allegations or so that they can seek fame and fortune from ‘deep-pocketed’ defendants.” Baker,

431 F. Supp. 2d at 360.

       The same is true for compensation, because this case was not a “close call[],” and it did

not “present novel legal issues or theories.” TufAmerica Inc., 2016 WL 1029553, at *2. Plaintiff

pursued this litigation with eyes wide open, in the face of multiple warnings from Mr. Seinfeld’s

counsel that his copyright claims were time-barred. Plaintiff forced the Seinfeld Defendants to

expend significant resources to defend the action. Plaintiff needlessly prolonged and

complicated this case by filing three meritless complaints, which, in turn, prompted Defendants

to file three successive motions to dismiss. Even when this Court dismissed the case, Plaintiff

and his counsel barreled ahead, multiplying the litigation even further by appealing this Court’s

decision despite the adverse controlling authority cited by both Defendants and the Court. Citing

to the same controlling authority, the Second Circuit summarily affirmed this Court’s decision.

Although Plaintiff’s arguments were meritless, “it was reasonable for Defendants to take the

appeal seriously. While the crux of Defendants’ arguments may have remained the same, the

substance and style of briefing and oral argument differ between trial and appellate courts, and

competent lawyers will work hard to defend against even frivolous appeals.” Mahan, 2016 WL

4718018, at *3. As such, “an award of attorneys’ fees and costs in this case will advance the

purposes of the Copyright Act by compensating the defendants for expending the time and




                                                 17
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 23 of 31




incurring the expense of defending this action.” Sid Bernstein Presents, LLC, 2018 WL

1587125, at *4. “Furthermore, such an award will deter others ‘from pursuing meritless claims,

such as those asserted in this action.’” Id. (citation omitted).

II.    THE FEES AND COSTS SOUGHT BY THE SEINFELD DEFENDANTS ARE
       REASONABLE

       Courts assess the reasonableness of attorneys’ fees using the lodestar method. “Both [the

Second Circuit] and the Supreme Court have held that the lodestar—the product of a reasonable

hourly rate and the reasonable number of hours required by the case—creates a ‘presumptively

reasonable fee.’” TufAmerica Inc., 2016 WL 1029553, at *3 (alteration in original) (quoting

Millea v. Metro-N. R.R. Co., 658 F.3d 154, 166 (2d Cir. 2011)). “Once the lodestar amount is

established, there is a strong presumption that it is reasonable.” Baker, 431 F. Supp. 2d at 360

(internal quotation marks and citations omitted). While the Seinfeld Defendants submit that the

hourly rates of their counsel, Gibson, Dunn & Crutcher LLP (“Gibson Dunn”), are reasonable

and in line with the market, to avoid any disputes and mindful of the fact that this Court often

reduces fee requests to ensure reasonableness, the Seinfeld Defendants are only requesting an

award of 75% of Gibson Dunn’s standard hourly rates. This reduced rate will be referred to as

the “claimed rate.”

       In sum, the Seinfeld Defendants are seeking an award of $940,502.23, representing

$845,693.63 of attorneys’ fees and $94,808.60 of costs that the Seinfeld Defendants reasonably

expended in this action. Even though this was a meritless case, the stakes were high because of

the Show’s value and the nature of Plaintiff’s demands. See SAC ¶ 96 (“[I]ndustry press

revealed that the Project’s deal with Netflix was estimated at around $100 million.”). Given that

Plaintiff was seeking Mr. Seinfeld’s entire share of the Show’s profits, as well as an injunction

on making future episodes or distributing existing ones, Defendants were forced to vigorously



                                                  18
         Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 24 of 31




defend their rights to the Show. In addition, Plaintiff’s vexatious litigation tactics needlessly

burdened the Seinfeld Defendants with additional substantial fees.

        Over the past two and a half years, the work performed by Defendants’ counsel included,

inter alia, investigating Plaintiff’s claims, preserving evidence for document discovery, briefing

three motions to dismiss, litigating Plaintiff’s counsel’s motion to withdraw, litigating Plaintiff’s

motion to strike a section of Defendants’ motion to dismiss reply brief, addressing multiple

disputes with Plaintiff and his counsel regarding procedural issues, preparing and drafting initial

disclosures, preparing and filing an initial motion for attorneys’ fees, litigating Plaintiff’s request

for a stay of the fees motion pending the outcome of the appeal, reviewing the record on appeal,

briefing the appeal, preparing for and conducting oral argument before the Second Circuit, and

briefing this subsequent motion for attorneys’ fees.5 In sum, Defendants’ counsel filed twelve

briefs and letter briefs, totaling over 150 pages. The accompanying Kusnetz Declaration and the

exhibits thereto demonstrate that the fees charged by Gibson Dunn are reasonable. See Kusnetz

Declaration ¶¶ 5–35, Exs. D–H. Gibson Dunn’s fees and costs have been paid in full.

        A.      The Rates of the Seinfeld Defendants’ Counsel Are Reasonable

        “An attorney’s reasonable hourly rate is what ‘a reasonable, paying client would be

willing to pay.’” TufAmerica Inc., 2016 WL 1029553, at *5 (quoting Arbor Hill Concerned

Citizens Neighborhood Ass’n v. Cty. of Albany, 522 F.3d 182, 184 (2d Cir. 2008)). “[T]his rate

must be ‘in line with those [rates] prevailing in the community for similar services by lawyers of

reasonably comparable skill, experience, and reputation.’” Id. (quoting Miroglio S.P.A., 629 F.


 5
     The Seinfeld Defendants are entitled to the attorneys’ fees and costs associated with briefing
     this motion, and intend to submit a supplemental declaration identifying and substantiating
     additional fees and costs with their reply. See TufAmerica Inc., 2016 WL 1029553, at *7
     (granting attorneys’ fees for the hours defendants spent preparing their motion for fees);
     Miroglio S.P.A. v. Conway Stores, Inc., 629 F. Supp. 2d 307, 314 (S.D.N.Y. 2009) (granting
     attorneys’ fees “for the hours spent preparing the application for costs and fees”).

                                                  19
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 25 of 31




Supp. 2d at 314). Additional factors courts consider “includ[e], but [are] not limited to, the

complexity and difficulty of the case, . . . the resources required to prosecute the case

effectively[,] . . . the timing demands of the case, whether an attorney might have an interest

(independent of that of his client) in achieving the ends of the litigation[,] . . . and other returns

(such as reputation, etc.) that an attorney might expect from the representation.” Arbor Hill, 522

F.3d at 184.

        The qualifications for the primary members of the litigation team in this case are detailed

in the Kusnetz Declaration and accompanying exhibits. Kusnetz Declaration ¶¶ 17–33; Ex. G.

These rates are in line with, and in many cases lower than, the rates charged by comparable law

firms in this District with similar expertise. The rates charged by Gibson Dunn are

commensurate with the hourly rates for partners and associates at comparable firms in the

Southern District of New York and consistent with reasonable rates approved in other cases in

this District. See, e.g., Vista Outdoor Inc. v. Reeves Family Tr., 2018 WL 3104631, at *6

(S.D.N.Y. May 24, 2018) (approving rates up to $1,260 for Gibson Dunn partners); APEX Emp.

Wellness Servs., Inc. v. APS Healthcare Bethesda, Inc., 2018 WL 5784544, at *5 (S.D.N.Y. Nov.

5, 2018) (approving hourly rates of up to $1,058.25); U.S. Bank Nat’l Ass’n v. Dexia Real Estate

Capital Mkts., 2016 WL 6996176, at *8 (S.D.N.Y. Nov. 30, 2016) (approving hourly rates of up

to $1,055 and noting that “partner billing rates in excess of $1,000 an hour[] are by now not

uncommon in the context of complex commercial litigation”). Moreover, the rates charged by

Gibson Dunn reflect actual market rates and are the same or similar to those paid by Gibson

Dunn’s other clients for comparable work. See Ceglia v. Zuckerberg, 2012 WL 503810, at *16

(W.D.N.Y. Feb. 14, 2012) (finding “Gibson Dunn’s hourly billing rates are in line with the

prevailing market rates for attorneys of similar credentials at large New York City law firms”);




                                                   20
          Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 26 of 31




see also Ex. H (Legal Billing Report By Billing Rate, published by Thomson Reuters in

December 2018). Defendants are primarily represented by the following three attorneys in this

matter:

         Orin Snyder is the supervising partner for this case, argued the appeal, and has had

          ultimate decision-making responsibility since the inception of this case. Mr. Snyder has

          been a partner at Gibson Dunn since 2005 and is one of the country’s leading trial

          lawyers and litigators. Mr. Snyder was named General Commercial Attorney of the Year

          for 2020 by Benchmark Litigation. Mr. Snyder is a senior partner and the Co-Chair of

          Gibson Dunn’s Media, Entertainment and Technology Practice Group. Mr. Snyder has

          litigated many of the leading copyright cases in the Second Circuit. See, e.g., Jorgensen

          v. Epic/Sony Records, 351 F.3d 46 (2d Cir. 2003); Thomson v. Larson, 147 F.3d 195 (2d

          Cir. 1998); LaPine v. Seinfeld, 2009 WL 2902584 (S.D.N.Y. Sept. 10, 2009), aff’d, 375

          F. App’x 81 (2d Cir. 2010); Willis v. Home Box Office, 2001 WL 1352916 (S.D.N.Y.

          Nov. 2, 2001), aff’d, 57 F. App’x 902 (2d Cir. 2003); Tisi v. Patrick, 97 F. Supp. 2d 539

          (S.D.N.Y. 2000); Dimmie v. Carey, 88 F. Supp. 2d 142 (S.D.N.Y. 2000). Previously, Mr.

          Snyder served as an Assistant United States Attorney in this District and was a named

          partner at a prominent New York litigation boutique. Mr. Snyder has also been

          recognized as one of the five best business trial lawyers in the country by Chambers

          USA; ranked by Chambers USA in Band 1 in New York for both General Commercial

          Litigation and Media & Entertainment Litigation in 2019; recognized as one of the “Top

          100 Trial Lawyers in America” in Benchmark Litigation’s Guide to America’s Leading

          Litigation Firms and Attorneys; honored as a “Power Lawyer” by The Hollywood

          Reporter; and profiled as AmLaw Litigation Daily’s “Litigator of the Week.” Mr.




                                                  21
    Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 27 of 31




    Snyder earned his law degree, cum laude, at the University of Pennsylvania Law School

    in 1986. His standard rates were $1,395 in 2018, $1,445 in 2019, and $1,550 in 2020.

    His claimed rates are $1,046.25 in 2018, $1,083.75 in 2019, and $1,162.50 in 2020. The

    total fees sought for Mr. Snyder’s work are $70,220.63. See Kusnetz Declaration ¶ 18,

    Exs. D–E.

   David Kusnetz is a sixth-year litigation associate at Gibson Dunn and has had day-to-day

    responsibility for running this case since its inception. Mr. Kusnetz’s practice focuses on

    complex commercial, copyright, and securities litigation. Mr. Kusnetz previously served

    as a law clerk for the Honorable Richard M. Berman of the United States District Court

    for the Southern District of New York. Mr. Kusnetz graduated from Columbia Law

    School in 2014, where he was a Harlan Fiske Stone Scholar and a Notes Editor on the

    Columbia Journal of Law and Social Problems. His standard rates were $815 in 2018,

    $895 in 2019, and $965 in 2020. His claimed rates are $611.25 in 2018, $671.25 in 2019,

    and $723.75 in 2020. The total fees sought for Mr. Kusnetz’s work are $511,772.25. See

    Kusnetz Declaration ¶ 19, Exs. D–E.

   On appeal, Mr. Snyder and Mr. Kusnetz were assisted by Matthew McGill, an appellate

    specialist, who assisted with drafting Defendants’ appellate brief and oral argument

    preparation. Mr. McGill has been a partner at Gibson Dunn since 2004 and is a

    Chambers-ranked appellate litigator. He has litigated 21 cases before the Supreme Court

    of the United States, prevailing in 16. Mr. McGill has also participated in significant

    copyright cases before the Supreme Court and the courts of appeals, including Kirtsaeng

    v. John Wiley & Sons, Inc., 568 U.S. 519 (2013). Previously, Mr. McGill served as a

    Bristow Fellow in the Office of the Solicitor General at the U.S. Department of Justice




                                            22
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 28 of 31




       and as a law clerk for the Honorable Joseph M. McLaughlin of the U.S. Court of Appeals

       for the Second Circuit and the Honorable John G. Roberts, Jr. of the U.S. Court of

       Appeals for the D.C. Circuit. Mr. McGill has been recognized by Benchmark Litigation

       as a “Future Litigation Star” in Washington, D.C.; by Law360 as a Sports Law “MVP”

       and as a national “Rising Star,” identifying him as one of ten appellate lawyers under 40

       to watch; and by the National Law Journal as a “2019 Sports & Entertainment

       Trailblazer” and a “Litigation Trailblazer.” In 2000, Mr. McGill earned his law degree

       from Stanford Law School, where he was elected to the Order of the Coif. His standard

       rate in 2020 is $1,320. His claimed rate in 2020 is $990. The total fees sought for Mr.

       McGill’s work are $30,591. See Kusnetz Declaration ¶ 20, Exs. D–E.

       B.      The Number of Hours Counsel Expended Is Reasonable

       Gibson Dunn’s contemporaneous monthly time records, describing the work performed

on this matter by Gibson Dunn attorneys and litigation support staff, are attached as Exhibit D to

the Kusnetz Declaration. These records identify 1,421.50 hours of work by Gibson Dunn

attorneys and litigation support staff in connection with this litigation and, for each entry, specify

“the date, the hours expended, and the nature of the work done.” N.Y. State Ass’n for Retarded

Children, Inc. v. Carey, 711 F.2d 1136, 1154 (2d Cir. 1983). In these records, each timekeeper

recorded his or her time contemporaneously in tenths of hours and provided a detailed

description of the services rendered.

       From February 9, 2018 to the present, Gibson Dunn managed this case in an efficient

manner. With a team of just three attorneys—one handling day-to-day responsibilities, one

supervising the matter, and one assisting on appeal—all of the work was necessary and not




                                                 23
         Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 29 of 31




redundant.6 Notably, Mr. Snyder billed only 64.3 hours on this matter, representing 5% of the

total attorney hours billed, and Mr. McGill billed only 30.9 hours on this matter, representing

just 2% of the total attorney hours billed. As the senior associate on this matter, Mr. Kusnetz

billed 791.2 hours, representing 59% of the total attorney hours billed. See Ex. E (billing

summary). The bulk of the remaining hours were billed by junior associates with lower billing

rates, to whom Mr. Kusnetz delegated legal research and other appropriate tasks.7 Messrs.

Snyder, Kusnetz, and McGill were also assisted by paralegals and other litigation support staff,

who billed 72.1 hours, representing 5% of the total hours billed.8 Gibson Dunn focused on using

its resources efficiently and made every effort to minimize the costs incurred.9 The number of

hours expended by counsel for Defendants is reasonable. All of the work reflected in the time

records was necessary and justified to prevail in this action.




 6
     Gibson Dunn partner Laura O’Boyle occasionally assisted with reviewing and revising the
     motion to dismiss briefing, as well as oral argument preparation. Ms. O’Boyle has been an
     attorney at Gibson Dunn since 2006, and became a partner in 2017. She has extensive
     experience litigating a wide range of complex commercial matters in federal and state court,
     including fraud and breach of contract matters, securities class actions, trade secret claims,
     and shareholder disputes. She also regularly represents media and technology clients in
     copyright, trademark, privacy, and defamation matters. She graduated with distinction from
     Stanford Law School in 2006. Her rates were $1,065 in 2018, $1,095 in 2019, and $1,175 in
     2020. Other Gibson Dunn partners also assisted with oral argument preparation. The
     Seinfeld Defendants are not seeking reimbursement of the fees associated with the work of
     Ms. O’Boyle or any additional partners.
 7
     This included the following first-year associates to complete discrete tasks, such as legal
     research, in order to further reduce costs: Jeremy Bunting, Trevor Gopnik (departed firm),
     Kimberly Kirschenbaum (departed firm), Amanda LeSavage, and Zachary Piaker (departed
     firm). See Kusnetz Declaration ¶ 22, Exs. D–E.
 8
     This included paralegals Angel Arias, LaToya Best, and Nilhan Gezgin; the Managing
     Attorney of the Firm’s New York office, Laura Coppola; and Litigation Support Specialists
     Carla Edwards, Steven Raber, Leonid Roymisher, and Spencer Scott. See Kusnetz
     Declaration ¶ 26, Exs. D–E.
 9
     Messrs. Snyder and Kusnetz also utilized the assistance of several summer associates. The
     Seinfeld Defendants are not requesting reimbursement for the work performed by summer
     associates.


                                                 24
        Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 30 of 31




       C.      The Costs Sought by the Seinfeld Defendants Are Reasonable

       “The Second Circuit has consistently ‘held that attorney’s fees awards include those

reasonable out-of-pocket expenses incurred by attorneys and ordinarily charged to their clients.’”

TufAmerica Inc., 2016 WL 1029553, at *7 (quoting U.S. Football League v. Nat’l Football

League, 887 F.2d 408, 416 (2d Cir. 1989)). The Seinfeld Defendants seek to recover $94,808.60

in costs, as set forth in the costs summary attached as Exhibit F to the Kusnetz Declaration. The

costs summarized in Exhibit F are also individually itemized on Gibson Dunn’s invoices. See

Ex. D. The costs include electronic legal research, electronic discovery database hosting fees, in-

house duplication charges, and messenger and courier delivery services. These costs are

reasonable because they are not associated with ordinary office overhead but instead relate to

identifiable “out-of-pocket expenses incurred by attorneys and ordinarily charged to their

clients.” J.S. Nicol, Inc. v. Peking Handicraft, Inc., 2008 WL 4613752, at *18 (S.D.N.Y. Oct.

17, 2008) (emphasis in original) (citation omitted).

                                         CONCLUSION

       For the foregoing reasons, the Seinfeld Defendants respectfully request that the Court

grant their motion for attorneys’ fees and costs, together with such further relief as appropriate.

 Dated: New York, New York                         Respectfully Submitted,
        July 1, 2020

                                                   GIBSON, DUNN & CRUTCHER LLP

                                                   By:    /s/ Orin Snyder

                                                   Orin Snyder
                                                   David M. Kusnetz




                                                 25
Case 1:18-cv-01196-AJN Document 124 Filed 07/01/20 Page 31 of 31




                                200 Park Avenue
                                New York, NY 10166-0193
                                Telephone: (212) 351-4000
                                Facsimile: (212) 351-4035
                                osnyder@gibsondunn.com
                                dkusnetz@gibsondunn.com

                                Attorneys for Defendants Jerry Seinfeld,
                                Columbus 81 Productions, Inc., Embassy
                                Row, LLC, Comedians in Cars, LLC,
                                Sony Pictures Television Inc., and
                                Netflix, Inc.




                               26
